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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             STATESBORO DIVISION



UNITED STATES OF AMERICA                        ) CASE# 6:20-CR-00001
                                                )
vs.                                             )
                                                )
                                                )
Crystal Wheeler                                 )

                 ORDER GRANTING LEAVE OF ABSENCE


        Counsel, JACK MORRIS DOWNIE, having filed his Motion for Leave of Absence

 and having served all parties thereto:

         IT IS HEREBY ORDERED that said Motion for Leave of Absence for the following

 dates: April 7-10, 2020 & April 27, 2020-May 1, 2020 is GRANTED.




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